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                                                           September 26, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       On behalf of our client, Samuel Bankman-Fried, we write to respectfully request that the
Court enter an order directing the United States Marshals Service and/or the Bureau of Prisons
Metropolitan Detention Center to permit and make appropriate arrangements for our client to
wear business attire clothing while he is in Courtroom 26A for the duration of his criminal trial
commencing October 3, 2023. We also respectfully request that the Court direct the United
States Marshals Service and/or the Bureau of Prisons Metropolitan Detention Center to accept
from defense counsel and maintain for our client’s use certain articles of business attire clothing.
A proposed order is enclosed.

                                                     Respectfully submitted,


                                                       /s/ Christian R. Everdell       .
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cc:   All counsel of record (via ECF)
